                          EXHIBIT B



Case 1:13-cv-00897-CCE-LPA Document 162-2 Filed 09/11/15 Page 1 of 8
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July 23, 2015

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    Case 1:13-cv-00897-CCE-LPA Document 162-2 Filed 09/11/15 Page 2 of 8
Darren Kaplan Law Firm, P.C.
Dillon v. BMO
July 23, 2015
Page 2


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Re:     Dillon v. BMO Harris Bank, et al. Case No. 1:13-cv-00897-CCE-LPA

Ladies and Gentlemen:

In order to make our meet-and-confer teleconference regarding the need for arbitration-related
discovery as productive as possible, permit me to briefly describe Plaintiff’s position with
respect to the agreements to arbitrate you have proffered and the reasons why these agreements
necessitate discovery. There are four loan agreements at issue in the current round of motions—
an agreement with Great Plains Lending, LLC (“Great Plains Lending”); an agreement with
MNE Services, Inc. d/b/a USFastCash (“USFastCash”); an agreement with Western Sky, LLC
(“Western Sky”) and an agreement with Vin Capital LLC (“Vin Capital”). For purposes of this
letter, we refer to the loan agreements which claim to be made by entities of Native American
tribes (Great Plains Lending, USFastCash and Western Sky) as “tribal agreements.”

All three tribal agreements represent that borrowers are subject to the exclusive laws and
jurisdiction of the tribes:

      Great Plains Lending                       USFastCash                         Western Sky Financial
       (Doc. 104-1, p. 2)                      (Doc. 123-1, p.21)                    (Doc. 106-1, p. 4)
 This Loan Agreement (the                Both parties agree that this Note      This Loan Agreement is subject
 “Agreement”) is subject solely to       and Your account shall be governed     solely to the exclusive laws and
 the exclusive laws and                  by all applicable federal laws and     jurisdiction of the Cheyenne
 jurisdiction of the Otoe-               all laws of the Miami Tribe of         River Sioux Tribe, Cheyenne
 Missouria Tribe of Indians, a           Oklahoma, the regulatory authority     River Indian Reservation. By
 federally recognized Indian             of MNE Services, Inc. dba              executing this Loan Agreement,
 Tribe. In this Agreement, “you”         USFastCash regardless of the state     you, the borrower, hereby
 and “your” refer to the Borrower        or Jurisdiction in which You may       acknowledge and consent to be
 identified above. “We”, “us”, “our”,    reside, and Your electronic            bound to the terms of this Loan
 and “Lender” refer to Great Plains      signature below is your consent to     Agreement, consent to the sole
 Lending, LLC, a lender authorized       the exclusive exercise Of regulatory   subject matter and personal
 by the laws of the Otoe-Missouria       and adjudicatory authority of the      jurisdiction of the Cheyenne River
 Tribe. “Loan” means this consumer       Miami Tribe of Oklahoma over all       Sioux Tribal Court, and that no
 installment loan. By executing this     matters related to this Note and       other state or federal law or
 Agreement, you hereby                   Your account, expressly and            regulation shall apply to this Loan
 acknowledge and consent to be           forever forsaking any other            Agreement, its enforcement or
 bound to the terms of this              jurisdiction which either party may    interpretation.
 Agreement, consent to the sole          claim by virtue of any reason,
 subject matter and personal             including residency.
 jurisdiction of the Otoe-Missouria
 Tribe of Indians Tribal Court, and
 further agree that no other state or
 federal law or regulation shall apply




      Case 1:13-cv-00897-CCE-LPA Document 162-2 Filed 09/11/15 Page 3 of 8
Darren Kaplan Law Firm, P.C.
Dillon v. BMO
July 23, 2015
Page 3


 to this Agreement, its enforcement
 or interpretation.



In fact, two of the tribal agreements represent that borrowers who do not agree to arbitration are
subject to tribal jurisdiction and either can only bring disputes in the tribal court or that no court
would have competent jurisdiction to hear the dispute. And all three tribal agreements indicate
that any dispute is governed by tribal law.

      Great Plains Lending                    USFastCash                  Western Sky Financial
       (Doc. 104-1, p. 5)                (Doc. 123-1, pp .21-22)           (Doc. 106-1, p. 8)

 IN THE EVENT YOU OPT OUT             AS A WHOLLY OWNED               In the event you opt out of
 OF THIS AGREEMENT TO                 SUBDIVISION OF A                Arbitration, any disputes hereunder
 ARBITRATE, ANY DISPUTES              FEDERALLY RECOGNIZED            shall nonetheless be governed under
 HEREUNDER SHALL                      INDIAN TRIBE, MNE Services,     the laws of the Cheyenne River
 NONETHELESS BE GOVERNED              Inc. dba USFastCash, AND ITS    Sioux Tribal Nation.
 UNDER THE LAWS OF THE                DIRECTORS, OFFICERS, AND
 OTOE-MISSOURIA TRIBE OF              EMPLOYEES ACTING WITHIN
 INDIANS AND MUST BE                  THE SCOPE OF THEIR
 BROUGHT WITHIN THE                   AUTHORITY, ARE NOT
 COURT SYSTEM THEREOF.                SUBJECT TO SUIT IN ANY
                                      COURT IN ANY JURISDICTION,
                                      OR ANY OTHER FORUM,
                                      ABSENT AWAIVER OF
                                      SOVIEREIGN IMMUNITY.
                                      SOLELY IN ORDER TO
                                      PROVIDE FOR THE
                                      RESOLUTION OF A DISPUTE
                                      THAT WE CANNOT RESOLVE
                                      TO YOUR SATISFACTION,
                                      SHOULD ANY OCCUR, MNE
                                      Services, Inc. DBA USFastCash
                                      HEREBY CONSENTS TO A
                                      LIMITED WAIVBR OF
                                      SOV&REIGN IMMUNITY, AS
                                      EXPRESSLY SET FORTH
                                      HEREIN, AND FURTHER
                                      LIMITED BY THE
                                      ARBITRATION PROVISION
                                      CONTAINED HEREIN. THIS
                                      LIMITED WAIVER IS
                                      STRICTLY LIMITED TO
                                      INDIVIDUAL ARBITRATION
                                      CLAIMS AS SET FORTH
                                      BELOW AND JUDICIAL
                                      ACTIONS TO ENFORCE SUCH
                                      INDIVIDUAL ARBITRATION




     Case 1:13-cv-00897-CCE-LPA Document 162-2 Filed 09/11/15 Page 4 of 8
Darren Kaplan Law Firm, P.C.
Dillon v. BMO
July 23, 2015
Page 4


                                   AWARDS AS STRICTLY
                                   LIMITED HEREIN.

                                   PLEASE BE ADVISED THAT IF
                                   YOU CHOOSE TO OPT OUT OF
                                   THE FOLLOWING
                                   ARBITRATION PROVISION AS
                                   DETAILED BELOW, YOUR
                                   ONLY OPTION OF [sic]
                                   PURSUING A CLAIM AGAINST
                                   US FOR ANY UNRESOL\IED
                                   DISPUTE WILL BE TO TRY TO
                                   BRING AN ACTION IN A
                                   COURT OF COMPETENT
                                   JURISDICTION, IF ANY EXISTS,
                                   BUT IN ADDITION TO
                                   PROVING YOU ARE ENTITLED
                                   TO ANY RELIEF OR DAMAGES
                                   FROM MNE Services, Inc. DBA
                                   USFastCash, YOU MAY ALSO
                                   HAVE TO PROVE THAT WE
                                   ARE NOT ENTITLED TO THE
                                   BENEFITS AND PROTECTIONS
                                   OF SOVEREIGN IMMUNITY.



It is Plaintiff’s position that the representations that the tribal agreements and the borrowers
themselves (by execution of the agreements) are subject to tribal jurisdiction and law is false.
Jackson v. Payday Fin., LLC, 764 F.3d 765, 783 (7th Cir. 2014) cert. denied sub nom. W. Sky
Fin. v. Jackson, 135 S. Ct. 1894 (2015) (“a nonmember’s consent to tribal authority is not
sufficient to establish the jurisdiction of a tribal court”). And since these false representations
explicitly apply to the clauses that comprise the arbitration provisions, it is Plaintiff’s position
that the agreements to arbitrate were induced by fraud. See Prima Paint Corp. v. Flood &
Conklin Mfg. Co., 388 U.S. 395, 403–404 (1967) (interpreting § 4 of the FAA to permit federal
courts to adjudicate claims of “fraud in the inducement of the arbitration clause itself” because
such claims “g[o] to the ‘making’ of the agreement to arbitrate”).

Other courts however have found the question of tribal jurisdiction to be a closer call. See, e.g.,
Brown v. W. Sky Fin., LLC, No. 1:13CV255, 2015 WL 413774, at *10 (M.D.N.C. Jan. 30, 2015)
(finding a potential “colorable claim of tribal jurisdiction, because some of [d]efendants’ actions
involved alleged tribal entities and/or tribal members.”). Given the possibility, however slim, of
a “colorable” claim of tribal jurisdiction,” Mr. Dillon has no choice but to take discovery on this
issue unless Defendants are prepared to concede that there is no jurisdiction by the Indian tribal
courts premised on these transactions. That discovery necessarily entails examination of these
lenders’ operations on the reservation and their interactions with off-reservation third-parties. See




     Case 1:13-cv-00897-CCE-LPA Document 162-2 Filed 09/11/15 Page 5 of 8
Darren Kaplan Law Firm, P.C.
Dillon v. BMO
July 23, 2015
Page 5


Heldt v. Payday Fin., LLC, 12 F. Supp. 3d 1170, 1185 (D.S.D. 2014) (“Ultimately, to sustain
tribal court jurisdiction, the tribe or tribal member must show that the activities or conduct
sought to be regulated through adjudication occurred “inside the reservation.”) (citations
omitted). See also, Otoe-Missouria Tribe of Indians v. New York State Dep’t of Fin. Servs., 769
F.3d 105, 115 (2d Cir. 2014) (“In any event, plaintiffs provided insufficient evidence to establish
that they are likely to succeed in showing that the internet loans should be treated as on-
reservation activity.”).

Accordingly, we will seek leave of the Court to take discovery on the issue of how and where
these lenders operate, with whom they operate (including their Third-Party Senders and
Originating Depository Financial Institutions) and the actual financial interest of the tribes in
these lenders.

Additionally, all three tribal agreements represent that any arbitration will be conducted pursuant
to tribal rules and law:

      Great Plains Lending                        USFastCash                        Western Sky Financial
       (Doc. 104-1, p. 6)                       (Doc. 123-1, p.22)                   (Doc. 106-1, p. 7)

 YOU AGREE THAT ANY                       You and We expressly                  The arbitration will be governed by
 DISPUTE (DEFINED BELOW)                  acknowledge and agree that this       the chosen arbitration
 WILL BE RESOLVED BY                      Arbitration Provision Is made         organization’s rules and procedures
 ARBITRATION IN                           pursuant to a transaction Involving   applicable to consumer disputes, to
 ACCORDANCE WITH THE LAW                  interstate commerce and shall be      the extent that those rules and
 OF THE OTOE-MISSOURIA                    governed by the FAA. If a final,      procedures do not contradict either
 TRIBE OF INDIANS. The                    non-appealable judgment of a court    the law of the Cheyenne River
 arbitration will be governed by the      having competent jurisdiction over    Sioux Tribe or the express terms of
 chosen arbitration organization’s        this transaction finds, for any       this Agreement to Arbitrate,
 rules and procedures applicable to       reason, that the FAA does not apply   including the limitations on the
 consumer disputes, to the extent         to this transaction, then our         Arbitrator below.
 that those rules and procedures do       agreement to arbitrate shall be
 not contradict either the law of the     governed by the arbitration law of    THIS ARBITRATION
 Otoe-Missouria Tribe or the express      The Miami Tribe of Oklahoma.          PROVISION IS MADE
 terms of this Agreement to                                                     PURSUANT TO A
 Arbitrate, including the limitations                                           TRANSACTION INVOLVING
 on the Arbitrator below. The party                                             THE INDIAN COMMERCE
 receiving notice of Arbitration will                                           CLAUSE OF THE
 respond in writing by certified mail                                           CONSTITUTION OF THE
 return receipt requested within                                                UNITED STATES OF AMERICA,
 twenty (20) days. You understand                                               AND SHALL BE GOVERNED
 that if you demand Arbitration, you                                            BY THE LAW OF THE
 must inform us of your demand and                                              CHEYENNE RIVER SIOUX
 of the arbitration organization you                                            TRIBE. The arbitrator will apply
 have selected. You also understand                                             the laws of the Cheyenne River
 that if you fail to notify us, then we                                         Sioux Tribal Nation and the terms
 have the right to select the                                                   of this Agreement. The arbitrator
 arbitration organization. Any                                                  must apply the terms of this




     Case 1:13-cv-00897-CCE-LPA Document 162-2 Filed 09/11/15 Page 6 of 8
Darren Kaplan Law Firm, P.C.
Dillon v. BMO
July 23, 2015
Page 6


 arbitration under this Agreement                                   Arbitration agreement, including
 may be conducted either on tribal                                  without limitation the waiver of
 land or within thirty (30) miles of                                class-wide Arbitration. The
 your residence, at your choice,                                    arbitrator will make written
 provided that this accommodation                                   findings and the arbitrator’s award
 for you shall not be construed in                                  may be filed in the Cheyenne River
 any way (a) as a relinquishment or                                 Sioux Tribal Court, which has
 waiver of the sovereign status or                                  jurisdiction in this matter. The
 immunity of the Otoe-Missouria                                     Arbitration award will be supported
 Tribe of Indians, or (b) to allow for                              by substantial evidence and must be
 the application of any law other                                   consistent with this Agreement and
 than the law of the Otoe-Missouria                                 applicable law or may be set aside
 Tribe of Indians.                                                  by a court upon judicial review.



It is Plaintiff’s position that tribal laws and rules relating to arbitration and consumer debt
disputes do not exist and that therefore, the arbitral forums provided for in the tribal agreements
are unavailable. See, e.g., Jackson (“[p]laintiffs could not have ascertained or understood the
arbitration procedure to which they were agreeing because it did not exist.” 764 F.3d at 781;
Inetianbor v. CashCall, Inc., 768 F.3d 1346, 1354 (11th Cir. 2014) cert. denied, 135 S. Ct. 1735
(2015) (“Finally, the fact that the arbitration clause calls for the arbitration to be conducted
according to consumer dispute resolution rules that do not exist supports the conclusion that the
Tribe is not involved in private arbitrations.”). Nevertheless, at least two district courts have
required an individual showing by the plaintiff of the tribal laws and rules’ non-existence even
post-Jackson and Inetianbor, see, Chitoff v. CashCall, Inc., No. 0:14-CV-60292, 2014 WL
6603987, at *1 (S.D. Fla. Nov. 17, 2014) (“Plaintiff has attempted to rely upon citations to other
cases where the forum has been found to be unavailable in lieu of providing his own evidence.
The Court therefore finds that Plaintiff has failed to meet his evidentiary burden to prove that the
arbitration forum is unavailable or otherwise invalid”); Brown, supra, 2015 WL 413774, at *11
(“Plaintiffs in the present action have not attempted to actually arbitrate or file any action in a
CRST court”). Consequently, Mr. Dillon has no choice but to seek discovery on this issue.
Again, discovery could be avoided if Defendants were prepared to stipulate that there is no tribal
law or rules specifically applicable to payday loans or the conduct of arbitrations.

Further, with respect to the loan made to Mr. Dillon by Vin Capital, we note that the supporting
declaration whereby the unsigned loan agreement is offered into evidence, comes not from Vin
Capital, but rather, from its Third-Party Sender, Billing Tree Payments Solution (Doc. 123-2)
who purportedly obtained it from Vin Capital’s servicer. Because the declarant does not claim
knowledge of Vin Capital’s record keeping system and the creation of the contested record to
establish its trustworthiness, the declaration is not being made by a custodian or qualified witness
under Federal Rule of Evidence 902(11). Rambus, Inc. v. Infineon Technologies AG, 348 F.
Supp. 2d 698, 703-704 (E.D. Va. 2004) (“While the bar for qualification as a custodian or




     Case 1:13-cv-00897-CCE-LPA Document 162-2 Filed 09/11/15 Page 7 of 8
Darren Kaplan Law Firm, P.C.
Dillon v. BMO
July 23, 2015
Page 7


qualified witness is not high . . . declarations clearly fall far short of it by failing to meet the
threshold ‘qualified witness’ requirement of Rule 902(11)”). Accordingly, we will seek
discovery of both Billing Tree Payments and Vin Capital as to the authenticity of the document
in question.

Finally, because all movants are seeking to enforce arbitration agreements as non-signatories
under theories of equitable estoppel, third-party beneficiary and agency theories, it is Plaintiff’s
position that pre-arbitration discovery is required as to the circumstances and facts of the
relationships between Defendants and the payday lenders and/or the payday lenders’ third-party
senders. See, e.g., Pearson v. Gardere Wynne Sewell LLP, 814 F. Supp. 2d 592, 601 (M.D.N.C.
2011) (for plaintiff to assert a claim based on the third-party beneficiary of contract doctrine
“[i]t is not enough that the contract, in fact, benefits the plaintiff, if, when the contract was made,
the contracting parties did not intend it to benefit the plaintiff directly”); Indem. Ins. Co. of N.
Am. v. Am. Eurocopter LLC, No. 1:03CV949, 2005 WL 1610653, at *8 (M.D.N.C. July 8, 2005)
(“[u]nless there is but one inference that can be drawn from the facts, whether an agency
relationship exists is a question of fact for the jury.”).

We look forward to speaking with you tomorrow at 10:30 AM EDT. Again, the conference call
information is dial-in number 218-936-3933 and passcode 527526#.

Very truly yours,




Darren Kaplan

Cc: All Counsel for Dillon




     Case 1:13-cv-00897-CCE-LPA Document 162-2 Filed 09/11/15 Page 8 of 8
